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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION
                                   www.flsb.uscourts.gov


In re:                                                    Case No. 18-14622-EPK

THE TREATMENT CENTER OF THE                               Chapter 11
PALM BEACHES, LLC

            Debtor.
________________________________________/

      DEBTOR’S EXPEDITED APPLICATION, PURSUANT TO SECTION 363(b)
      OF THE BANKRUPTCY CODE, FOR AUTHORITY TO EMPLOY AND RETAIN
  GLASSRATNER ADVISORY & CAPITAL GROUP, LLC, AS RESTRUCTURING
 ADVISORS TO THE CREDITORS, AND TO PROVIDE A CHIEF RESTRUCTURING
                OFFICER NUNC PRO TUNC TO May 24, 2018
                      [Expedited Hearing Requested]

            The Treatment Center of the Palm Beaches, LLC (“Debtor”), by and through its

proposed undersigned counsel, pursuant to 11 U.S.C. § 363(b), files this Debtor’s Application,

Pursuant to Section 363(b) of the Bankruptcy Code, for Authority to Employ and Retain

GlassRatner Advisory & Capital Group, LLC, as Restructuring Advisors to the Debtor, and to

Provide a Chief Restructuring Officer, Nunc Pro Tunc to May 24, 2018 (the “Application”). The

Application seeks entry of an order authorizing the retention of GlassRatner Advisory & Capital

Group, LLC (“GlassRatner”) to provide a chief restructuring officer (“CRO”) of the Debtor

effective as of May 24, 2018.      In support of the Application, the Debtor relies upon the

Declaration of Michael Thatcher in Support of Debtor’s Application, Pursuant to Section 363(b)

of the Bankruptcy Code, for Authority to Employ and Retain GlassRatner Advisory & Capital

Group, LLC, as Restructuring Advisors to the Debtor, and to Provide a Chief Restructuring




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Officer, Nunc Pro Tunc to May 24, 2018 (the “Declaration”) attached hereto as Exhibit “A”, and

respectfully represents as follows:

                                      Jurisdiction and Venue

        1.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

        2.      Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

        3.      The statutory predicates for the relief sought herein are sections 105(a), 363(b),

503, 507(a)(8), 541, 1107(a) and 1108 of chapter 11 of title 11 of the United States Code (the

“Bankruptcy Code”), and Rule 6003 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”).

                                           Background

        4.      On the date hereof (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the Bankruptcy Code.

        5.      The Debtor is operating its business and managing its affairs as a debtor in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

        6.      The Debtor is a Florida limited liability company which is based in Lake Worth,

Florida and was formed in June 2008 to provide to provide alcohol and drug detoxification

treatment, with 121 employees and close to 40 patients.

        7.      For a detailed description of the Debtor, its assets, liabilities and operations, the

Debtor respectfully refers the Court and parties in interest to the Case Management Summary

[ECF No. 33].




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                                             Qualifications

        8.      The Debtor has determined that obtaining the ongoing services of a CRO will

substantially enhance its ability to (a) operate and meet its administrative obligations in this case,

(b) maximize and preserve the aggregate value of its assets, and (c) make an assessment as to the

obligations of the Debtor and recommendation as to whether maximize value through continuing

to operate, liquidate, or through a sale.

        9.      To assist the Debtor in achieving the goals of this Chapter 11 Case, the Debtor has

chosen to utilize GlassRatner personnel as appropriate and has appointed Michael Thatcher

(“Thatcher”) of GlassRatner, to the position of CRO, subject to the Court granting this

Application. GlassRatner is a specialty financial advisory services firm that provides solutions to

complex business problems and board level agenda items. GlassRatner maintains offices in

Atlanta, Georgia; Fort Lauderdale, Orlando, Tampa and West Palm Beach, Florida; Bakersfield,

Irvine and Los Angeles, California; New York, New York; Dallas, Texas; and Phoenix, Arizona.

        10.     GlassRatner brings together a unique combination of financial and operating

insight gained from decades of collective experience working in crisis situations, along with

practical transaction experience.

        11.     GlassRatner has a national and international reputation in the area of real estate

and real estate restructuring. The firm has provided a wide range of restructuring related services

related to real estate assets including; advising borrowers and lenders in complex multi-bank out

of court restructuring assignments, being retained by debtors and creditors in bankruptcy, being

appointed as CRO in real estate and healthcare cases, and operating and managing real estate

assets as well as healthcare facilities.




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        12.    Thatcher has nearly 18 years of relevant experience that combines financing,

restructuring (both in chapter 11 and out of court) and senior management. He has served as

Receiver, Chief Restructuring Officer, Financial Advisor and Liquidating Agent in a broad range

of industries including serving as the financial advisor to the Debtors of a $300 million home-

health and hospice care provider based in Long Island, NY as well as advisor to creditors of a

$600 million diabetes supply company based in South Florida. Thatcher’s biography is attached

as Exhibit “B”.

        13.    Prior to joining GlassRatner, Thatcher worked as an interim CFO and turnaround

and restructuring advisor for Advanced CFO Solutions, a Salt Lake City based interim

management firm, and for nearly 10 years, Thatcher was a Senior Vice President with Mesirow

Financial Consulting where he was involved with several high-profile Chapter 11 filings

originating out of the Southern District of New York and the District of Delaware.

        14.    Thatcher has nearly 18 years of experience advising distressed clients in a variety

of roles, including interim CFO, financial advisor to debtors, secured lenders and unsecured

creditor committees in a broad array of industries including healthcare, distribution, retail,

manufacturing, professional services, automotive, commercial aviation, publishing, technology,

agriculture and commodities.

        15.    In addition, GlassRatner will provide the services of Alan Barbee, Teresa

Licamara, and Jonathan Eargle, all of whom are well qualified.

        16.    The Debtor has been advised by GlassRatner that it will endeavor to coordinate

with the other professionals retained in this case to eliminate unnecessary duplication of work.




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        17.         The Debtor believes that GlassRatner is well qualified and able to advise it in a

cost-effective, efficient and timely manner. Therefore, the Debtor submits that the retention and

employment of GlassRatner is in the best interests of its estate.

                                         Services to be Rendered

        18.         As per the terms contained in the Engagement Letter, attached hereto as Exhibit

“C”, at the request and direction of the Debtor, GlassRatner’s role will specifically include

working with the Debtor’s managers and professionals with respect to the following:

            •   Provision of Thatcher to serve as the Chief Restructuring Officers (“CRO”) of the
                Debtor, who will work with the Debtor’s owners and its managers, employees, and
                professionals with respect to the following: (the “Restructuring Services”); as well as
                additional professionals, who may be regular associates, or independent
                contractors/strategic partners of GlassRatner (collectively, the “Additional
                Personnel”), as required, to assist the CRO in the execution of the specific duties set
                forth in the Engagement Letter.

                ▪   Assisting in all aspects of the Debtor’s business activities and operations,
                    including budgeting, cash management and financial management;

                ▪   Negotiating with respect to the relationship with the Debtor’s lenders;

                ▪   Negotiating with vendors and other creditors;

                ▪   Reviewing the Debtor’s daily operating activities;

                ▪   Evaluating the Debtor’s liquidity options, including, restructuring, refinancing
                    and reorganizing;

                ▪   Maximizing the value of the Debtor’s assets via the advancing of a competitive,
                    open sale of the Property;

                ▪   Reviewing purchases and expenses; and

                ▪   Acting as the Debtor’s representative in court hearings, as appropriate.

        19.         Michael Thatcher is unavailable to be in South Florida until the week of June 4,

2018. During that interim time, the Debtor proposes that Michael Thatcher oversee the efforts of

GlassRatner and the Debtors remotely until he returns on June 4, and after will begin working

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onsite with the Debtor. The members of theGlassRatner team that will be working onsite while

Michael Thatcher is out of town are Teresa Licamara, Jonathan Eargle, and Alan Barbee, who

will be providing financial advisory services and evaluations of the budgets and projections of

the Debtor, including an evaluation of the feasibility of restructuring the Debtor.                In

addition, Lee Katz is available for consultation and oversight as needed.

        20.    The Debtor has been advised by GlassRatner that it will endeavor to coordinate

with the other professionals retained in this case to eliminate unnecessary duplication of work.

        21.    Accordingly, the Debtor seeks to retain both Mr. Thatcher as CRO and

GlassRatner as Financial Advisors. Notwithstanding the appointment of the Chief Restructuring

Officer, there will be no duplication of efforts between Thatcher and GlassmRatner.

                            Terms of Retention and Compensation

        22.    The terms of GlassRatner’s proposed compensation are set forth in the

Engagement Letter. The Debtor requests that GlassRatner be compensated as follows for its

services during the course of this chapter 11 case:


               •       GlassRatner will be paid hourly by the Debtor for its services as follows:
                       (i) Michael Thatcher to serve as the CRO at $395 per hour; (ii) Alan
                       Barbee at $450 per hour; (iii) Teresa Licamara at $350 per hour; (iv)
                       Jonathan Eargle at $250 per hour; and (vii) other staff as appropriate at
                       $195 to $450 per hour at their respective standard rates.


               •       GlassRatner requires a $40,000 retainer and further requires that the
                       Debtor and DIP Lender agree that $50,000 for the first month and $40,000
                       thereafter will be included as an approved expense in all budgets
                       submitted to the Court for DIP financing.


               •       Such compensation shall be subject to a monthly maximum on fees billed
                       to GlassRatner (the “Monthly Cap”) each month. Any fees incurred by
                       GlassRatner during a specific month that exceed the applicable Monthly
                       Cap (the “Unbilled Fees”) shall be treated as follows: (i) 50% of the
                       Unbilled Fees shall be carried over and billed in the month immediately
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                           following, and (ii) 50% of the Unbilled Fees shall be permanently written
                           off by GlassRatner.


                   •       The applicable Monthly Cap for each month shall be as follows: (i) Month
                           1 - $50,000; and (ii) Months Following Month 1 - $40,000.. In addition,
                           GlassRatner will be reimbursed by the Debtor for the reasonable out-of-
                           pocket expenses of the Co-CROs.

        23.        Because the Debtor seeks to retain GlassRatner pursuant to sections 105(a) and

363(b) of the Bankruptcy Code, the Debtor requests that GlassRatner not be required to submit

regular applications to this Court approving its compensation. The Debtor submits that

GlassRatner’s proposed compensation structure, as described in the Engagement Letter, should

be approved.

        24.        Other than as set forth herein, no arrangement is proposed between the Debtor and

GlassRatner for compensation to be paid in this chapter 11 case. In light of the above, the

Debtor submits that such proposed compensation is fair and reasonable and should be approved

pursuant to the Bankruptcy Code.

                                            Indemnification

        25.        Subject to Court approval (including in accordance with the proposed order) and

pursuant to the terms of the Engagement Letter, in connection with GlassRatner’s engagement

with the Debtor, the Debtor has agreed to provide indemnification and contribution to

GlassRatner and its affiliates pursuant to terms substantially similar to the following:

            The Debtor shall indemnify GlassRatner and the CRO to the same extent as the
            most favorable indemnification it extends to its Officers or Directors, whether
            under the Debtor’s bylaws, its certificate of incorporation, or otherwise, and no
            reduction or termination in any of the benefits provided under any such
            indemnities shall affect the benefits provided to GlassRatner and the CRO.

            The CRO shall be covered as an officer under the Company’s existing director
            and officer liability insurance policies if such policy is in effect and the Debtor
            shall also maintain any such insurance coverage for the CRO for a period of not
            less than one year following the date of the termination of such officer’s services
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            hereunder. The indemnity provisions attached to the Engagement Letter are
            incorporated herein and the termination of this agreement or the engagement shall
            not affect those provisions, which shall survive termination.


        26.        The Engagement Letter shall (together with the attached indemnity provisions)

be: (a) governed and construed in accordance with the laws of Florida, regardless of the laws that

might otherwise govern under applicable principles of conflict of laws thereof; (b) incorporated

the entire understanding of the parties with respect to the subject matter thereof; and (c) may not

be amended or modified except in writing executed by each of the signatories thereto.

        27.        The terms of the Engagement Letter, both financial terms and the indemnification

of GlassRatner by the Debtor, are similar to the terms agreed to by GlassRatner, both inside and

outside of bankruptcy.        The terms and conditions of the Engagement Letter were negotiated

between the Debtor and GlassRatner, and reflect the parties’ mutual agreement as to the

substantial efforts and protections of rights that will be required in this engagement.

                                         Applicable Authority

        28.        Section 105(a) of the Bankruptcy Code provides in pertinent part that “[t]he court

may issue an order, process, or judgment that is necessary or appropriate to carry out the

provisions of this title.” 11 U.S.C. § 105(a). Section 363(b) of the Bankruptcy Code provides in

part that a debtor-in-possession “after notice and hearing, may use, sell or lease, other than in the

ordinary course of business, property of the estate.” 11 U.S.C. § 363(b). Under applicable case

law, if a debtor's proposed use of its assets pursuant to section 363(b) of the Bankruptcy Code

represents a reasonable business judgment on the part of the debtor, such use should be

approved. See, e.g., In re Gulf States, Steel, Inc., 285 B.R. 497, 514 (Bankr. N.D. Ala. 2002);

Stephens Indus., Inc. v. McClung, 789 F.2d 386, 390 (6th Cir. 1986); Myers v. Martin (In re

Martin), 91 F.3d 389, 395 (3d Cir. 1996) (citing Fulton State Bank v. Schipper (In re Schipper),

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933 F.2d 513, 515 (7th Cir. 1983); Comm. Of Equity Sec. Holders v. Lionel Corp. (In re Lionel

Corp.), 722 F.2d 1063, 1070 (2d Cir. 1983); In re Delaware & Hudson R.R. Co., 124 B.R. 169,

176 (D. Del. 1991) (courts have applied the “sound business purpose” test to evaluate motions

brought pursuant to section 363(b)); Committee of Asbestos-Related Litigants v. Johns-Manville

Corp. (In re Johns Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986) (“Where the

debtor articulates a reasonable basis for its business decisions (as distinct from a decision made

arbitrarily or capriciously), courts will generally not entertain objections to debtor's conduct”).

        29.    The retention of interim corporate officers and other temporary employees is

proper under section 363 of the Bankruptcy Code. Courts in Florida have authorized retention of

temporary employees to provide restructuring services and interim management services under

363 of the Bankruptcy Code. See In re Adinath Corp., et al., Case No. 15-16885-BKC-LMI

(Bankr. S.D. Fla. May 8, 2015); In re Ruden McClosky P.A., Case No. 11-40603-BKC-RBR

(Bankr. S.D. Fla. December 5, 2011); In re Old Corkscrew Plantation, LLC, et al., Case No.

9:11-bk-14559-BSS (Bankr. M.D. Fla. August 25, 2011); In re Robb & Stucky Limited LLLP,

Case No. 8:11-bk-02801-CED (Bankr. M.D. Fla. March 25, 2011); In re Medical Staffing

Network Holdings, Inc., et al., Case No. 10-29101-BKC-EPK (Bankr. S.D. Fla. July 22, 2010; In

re Taylor, Bean & Whitaker Mortgage Corp., Case No. 3:09-bk-07047-JAF (Bankr. M.D. Fla.

November 12, 2009); In re Puig, Inc., et al., Case No. 07-14026-BKC-RAM, (Bankr. S.D. Fla.

June 20, 2007); In re AT&T Latin America Corp., et al., Case No. 03-13538-BKC-RAM, (Bankr.

S.D. Fla. June 11, 2003); In re Piccadilly Cafeterias, Case No. 03-27976-BKC-RBR, (Bankr.

S.D. Fla. Oct. 31, 2003).

        30.    The Debtor requests that the retention of GlassRatner be approved nunc pro tunc

to the Petition Date.


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         31.      Because GlassRatner’s work is ongoing and essential to the Debtor’s

reorganization, the Debtor requests that the Court consider this Application on an expedited

basis.      While this application is not made under Rule 2014 and, thus, Rule 6003 is inapplicable,

the Debtor proposes the entry of an interim order on an expedited basis subject to entry of a final

hearing upon 21 days’ notice.

            WHEREFORE, the Debtor respectfully requests the entry of an Order, in the form

attached hereto as Exhibit “D” (a) granting this Application; (b) approving, pursuant to section

105(a) and 363(b) of the Bankruptcy Code, (i) the retention and employment by the Debtor of

Mr. Thatcher as CRO and GlassRatner as financial advisor pursuant to the terms of the

Engagement Letter, nunc pro tunc to May 24, 2018; and (ii) the terms of the Engagement Letter,

including the proposed fee structure and indemnification provisions as set forth in the

Engagement Letter; and (c) granting such other and further relief as the Court deems appropriate.

                  I HEREBY CERTIFY that a true and correct copy of the foregoing was served

electronically through the Court’s CM/ECF system upon all parties registered to receive

electronic notice in this case as indicated on the attached Electronic Mail Notice List on this

25th day of May, 2018.

                                                        Respectfully submitted,
                                                        FURR AND COHEN, P.A.
                                                        Attorneys for Debtor
                                                        2255 Glades Road, Suite 337W
                                                        Boca Raton, FL 33431
                                                        Telephone: (561) 395-0500
                                                        Facsimile: (561)338-7532-fax

                                                        By: _/s/Alvin S. Goldstein
                                                                Alvin S. Goldstein
                                                                Florida Bar No. 993621
                                                                agoldstein@furrcohen.com



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                                 EXHIBIT A
                            (Thatcher Declaration)




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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION
                                      www.flsb.uscourts.gov


In re:                                                             Case No. 18-14622-EPK

THE TREATMENT CENTER OF THE                                        Chapter 11
PALM BEACHES, LLC

            Debtor.
________________________________________/

      DECLARATION OF MICHAEL THATCHER IN SUPPORT OF THE DEBTOR’S
     APPLICATION, PURSUANT TO SECTION 363(b) OF THE BANKRUPTCY CODE,
      FOR AUTHORITY TO EMPLOY AND RETAIN GLASSRATNER ADVISORY &
    CAPITAL GROUP, LLC, AS RESTRUCTURING ADVISORS TO THE DEBTOR, AND
       TO PROVIDE A CHIEF RESTRUCTURING OFFICER NUNC PRO TUNC TO
                               PETITION DATE

            MICHAEL THATCHER,              of   GlassRatner Advisory        &    Capital    Group,   LLC

(“GlassRatner”), makes this Declaration pursuant to 28 U.S.C. § 1746, and states:

            1.    I am a Senior Managing Director of GlassRatner. GlassRatner is a professional

services firm engaged in the business of providing financial advisory and distressed asset

management services, with offices located in Atlanta, Georgia; Fort Lauderdale, Orlando, Tampa

and West Palm Beach, Florida; Bakersfield, Irvine and Los Angeles, California; New York, New

York; Dallas, Texas; and Phoenix, Arizona.

            2.    I submit this Declaration in support of the Debtor’s Application, Pursuant to Section

363(b) of the Bankruptcy Code, for Authority to Employ and Retain GlassRatner Advisory &

Capital Group, LLC, as Restructuring Advisors to the Debtor, and to Provide Michael Thatcher

asChief Restructuring Officer Nunc Pro Tunc to the Petition Date (the “Application”).1 Except as




1
    All terms not otherwise defined herein have the meanings ascribed to them in the Application.
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otherwise noted, I have personal knowledge of the matters set forth herein and, if called as a

witness, I would testify competently thereto.2

            3.    To the best of my knowledge, information and belief, insofar as I have been able to

ascertain after reasonable inquiry, other than my status as Chief Restructuring Officer (“CRO”) of

the Debtor, neither I, nor GlassRatner, nor any of its partners, principals, employees, agents or

affiliates, have any connection with the Debtor, its creditors, the United States Trustee, or any other

party with an actual or potential interest in this chapter 11 case, or their respective attorneys or

accountants, except as set forth below:

                  (a)    In the future, GlassRatner may provide services to certain creditors of the

Debtor and various other parties adverse to the Debtor in matters wholly unrelated to this chapter

11 case. As described below, however, GlassRatner has undertaken a detailed search to determine,

and to disclose, whether it is providing or has provided, services to any significant creditor, equity

security holder, insider or other party-in-interest in such unrelated matters.

                  (b)    GlassRatner provides services in connection with numerous cases,

proceedings and transactions unrelated to this chapter 11 case. Those unrelated matters involve

numerous attorneys, financial advisors and creditors, some of which may be claimants or parties

with actual or potential interests in this chapter 11 case, or may represent such parties.

                  (c)    GlassRatner’s personnel may have business associations with certain

creditors of the Debtor unrelated to this chapter 11 case. In addition, in the ordinary course of its

business, GlassRatner may engage other professionals in unrelated matters who now represent, or

who may in the future represent, creditors or other interested parties in this chapter 11 case.




2
 Certain of the disclosures contained herein relate to matters within the knowledge of other professionals
at GlassRatner, and are based on information provided to me by them.
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            4.    In connection with the preparation of this Declaration, GlassRatner searched its

client database and conducted a review of its professional contacts with the Debtor and other

parties in interest that were reasonably known to us to determine whether GlassRatner had any

relationships with the following types of entities:

                  (a)    the Debtor;

                  (b)    the Debtor’s managers and members and certain of its most significant

business affiliations;

                  (c)    secured lenders;

                  (d)    litigation parties, utility vendors, taxing authorities; and

                  (e)    unsecured creditors of the Debtor, among others, based upon information

and/or documentation provided by the Debtor.

            5.    Although the Debtor does not propose to retain GlassRatner under Bankruptcy

Code § 327, to the best of my knowledge, information and belief, and other than as set forth herein,

neither I nor GlassRatner hold or represent an interest adverse to the Debtor’s estate and

GlassRatner and I are each a “disinterested person,” as that term is defined in Bankruptcy Code §§

101(14) and 1107(b) with respect to the matters for which we are to be retained. To the best of my

knowledge, information and belief, and other than set forth herein, neither I nor the professionals

at GlassRatner have any connection with the Debtor or its affiliates, its creditors, its estate, any

United States District Judge or United States Bankruptcy Judge for the Southern District of Florida,

the United States Trustee or any person employed in the office of the United States Trustee for

Region 21, or any other party in interest, or their respective attorneys and accountants.

            6.    Further, as part of its diverse practice, GlassRatner appears in numerous cases,

proceedings and transactions that involve many different professionals, including attorneys,


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accountants and financial consultants, who may represent claimants and parties-in-interest in this

chapter 11 case. As a result, GlassRatner may have represented and may in the future represent

certain interested parties in matters wholly unrelated to this chapter 11 case, either individually or

as part of representation of a committee of creditors or interest holders. Based upon GlassRatner’s

current knowledge of the professionals involved, and to the best of my knowledge, none of those

relationships create interests materially adverse to the Debtor in matters upon which GlassRatner

is to be employed, and none are in connection with this case.

            7.     Despite the efforts described above to identify and disclose GlassRatner’s

connections with parties in interest in this chapter 11 case, because the Debtor is an enterprise with

numerous creditors and other relationships, GlassRatner is unable to state with certainty that every

client relationship or other connection has been disclosed. In that regard, if GlassRatner discovers

additional information that requires disclosure, GlassRatner will file a supplemental disclosure

with the Court.

            8.     GlassRatner is not a “creditor” of the Debtor within the meaning of Bankruptcy

Code section 101(10). Further, neither I nor any other GlassRatner partner or principal is a holder

of any shares of any of the Debtor’s stock.

            9.     As of the date hereof, no commitments have been made or received by me and/or

GlassRatner nor any partner or employee associate thereof, as to compensation or payment in

connection with this case other than in accordance with the provisions of the Bankruptcy Code.

Neither I, nor GlassRatner, have any agreement with any other entity to share with such entity any

compensation received by GlassRatner in connection with this chapter 11 case.

            10.    I, along with GlassRatner, reserve the right to supplement this Declaration in the

event that I and/or GlassRatner discover any facts bearing on matters described in this Declaration


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regarding GlassRatner’s employment by the Debtor.

            11.    This concludes my declaration.

                                      28 U.S.C § 1746 Declaration

            I declare under penalty of perjury that the foregoing is true and correct. Executed on May

24, 2018.



                                                          /s/ Michael Thatcher
                                                          Michael Thatcher




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                                 EXHIBIT B
                            (Thatcher’s Biography)




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Biogr aphy:
Biography:
Name, Designations
MICHAEL
Title   THATCHER - CIRA                                                                                         1

SENIOR MANAGING DIRECTOR

                              Michael Thatcher joined GlassRatner in 2016 to help found the Salt Lake City office.
                              Prior to joining GlassRatner, Michael worked as an interim CFO and turnaround and
                              restructuring advisor for Advanced CFO Solutions, a Salt Lake City based interim
                              management firm. For nearly 10 years, Mr. Thatcher was a Senior Vice President
                              with Mesirow Financial Consulting where he was involved with several high-profile
                              Chapter 11 filings originating out of the Southern District of New York and the
                              District of Delaware.
  vCard
                              Michael has nearly 17 years of experience advising distressed clients in a variety
                              of roles, including interim CFO, financial advisor to debtors, secured lenders and
                              unsecured creditor committees in a broad array of industries including healthcare,
                              distribution, retail, manufacturing, professional services, automotive, commercial
                              aviation, publishing, technology, agriculture and commodities.

                              His healthcare-related involvements include serving as the financial advisor to the
                              Debtors of a $300 million home-health and hospice care provider based in Long
                              Island, NY as well as advisor to creditors of a $600 million diabetes supply company
                              based in South Florida.

                              Some of Michael’s notable roles include:
                              n Interim CFO and restructuring advisor to a $150 million agriculture operation
                                in default with their lending syndicate. Assisted the client in the preparation of a
                                90-day rolling cash flow budget that was integrated with a borrowing-base
                                line of credit. Reviewed all cash receipts and disbursements and provided
                                authorization for outflows relative to weekly cash meetings with management
                                and lenders. Negotiated with prospective sources of alternative liquidity,
                                including banks and vendors.
                              n Advisor to lending syndicates in several capacities by analyzing collateral,
                                working capital and business cash cycles utilized as consideration for a debtor-
                                in-possession financing, a refinance or recapitalization. Financings ranged in size
                                from approximately $50 million to over $1 billion.

                              Mr. Thatcher has a Bachelor of Science degree from Brigham Young University and
                              a Masters of Business Administration from Boston University. He is a member of
                              the Association of Insolvency and Restructuring Advisors (“AIRA”) and is a Certified
                              Insolvency and Restructuring Advisor (“CIRA”). Michael is currently serves on
                              the board of directors for the Dallas-Ft. Worth and Salt Lake City chapters of
                              the Turnaround Management Association (“TMA”) and is affiliated with the Risk
                              Management Association of Salt Lake City.

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                                   EXHIBIT C
                                (Engagement Letter)




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                                 EXHIBIT D
                           (Proposed form of Order)




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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION
                                    www.flsb.uscourts.gov


In re:                                                     Case No. 18-14622-EPK

THE TREATMENT CENTER OF THE                                Chapter 11
PALM BEACHES, LLC

            Debtor.
________________________________________/

  INTERIM ORDER APPROVING THE DEBTOR’S APPLICATION, PURSUANT TO
  SECTION 363(b) OF THE BANKRUPTCY CODE, FOR AUTHORITY TO EMPLOY
     AND RETAIN GLASSRATNER ADVISORY & CAPITAL GROUP, LLC, AS
 RESTRUCTURING ADVISORS TO THE CREDITORS, AND TO PROVIDE A CHIEF
     RESTRUCTURING OFFICER, NUNC PRO TUNC TO THE PETITION DATE

            THIS MATTER having come before the Court for an interim hearing on May 30, 2018 at

1:30 P.M. on the Application, Pursuant to Section 363(b) of the Bankruptcy Code, for Authority to

Employ and Retain GlassRatner Advisory & Capital Group, LLC, as Restructuring Advisors to

the Debtor, and to Provide a Chief Restructuring Officer, Nunc Pro Tunc to the Petition Date (the

“Application”) [ECF No. ___ ] filed by the above-captioned debtor in possession (the “Debtor”).

The Application seeks entry of an order authorizing the Debtor to retain GlassRatner Advisory &
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Capital Group, LLC (“GlassRatner”) to provide interim management and restructuring advisory

services, including providing a Chief Restructuring Officer to the Debtor upon the terms and

conditions set forth in the Engagement Letter attached as Exhibit B to the Application.2

            The Court finds that upon the Application, the Thatcher Declaration attached as Exhibit A

to the Application; and it appearing that neither GlassRatner nor Thatcher holds nor represents any

interest adverse to the Debtor’s estate; that consideration of the Application and the relief requested

therein is a core proceeding pursuant to 28 U.S.C. § 157(b); and that the Debtor asserts that this

Court has jurisdiction to consider the Application and the relief requested therein pursuant to 28

U.S.C. §§ 157 and 1334, and that venue is proper before this Court pursuant to 28 U.S.C. §§ 1408

and 1409. It appearing that adequate notice of the Application under the exigent circumstances

has been given and that no other and further notice is necessary for purposes of this Order; and the

relief requested in the Application being in the best interests of the Debtor and its estate and

creditors; and this Court having reviewed the Application and having heard the statements in

support of the relief requested therein at a hearing before this Court (the “Hearing”); and this Court

having determined that the legal and factual bases set forth in the Application and at the Hearing

establish just cause for the relief granted herein on an interim basis; and upon all of the proceedings

had before this Court and after due deliberation thereon; and good and sufficient cause appearing

therefore, it is

            ORDERED that:

            1.     The Application is APPROVED on an interim basis.




2
    Capitalized terms used but not defined herein shall have the meanings ascribed in the Application.
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            2.    A final hearing on the Application is scheduled for June ___, 2018 at 1:30 P.M. at

the Flagler Waterview Building, 1515 N. Flagler Drive, Room 801, Courtroom B, West Palm

Beach, Florida 33401.

            3.    The Debtor is authorized, pursuant to 11 U.S.C. §§ 105(a) and 363(b), effective as

of the Petition Date, to employ and retain Michael Thatcher as Chief Restructuring Officer and

GlassRatner as financial advisors for the Debtor, upon the terms set forth in the Engagement Letter

attached to the Application as Exhibit C, nunc pro tunc to the Petition Date.

            4.    In the event the Debtor seeks to have GlassRatner materially change the terms of

the engagement by either (i) modifying the functions of personnel, or (ii) altering or expanding the

scope of the engagement, a motion to modify the retention shall be filed.

            5.    The payment terms, referenced in the Engagement Letter attached to the

Application as Exhibit A are APPROVED.

            6.    The Debtor shall indemnify GlassRatner and the CRO (the “Indemnified Persons”)

to the same extent as the most favorable indemnification it extends to its officers, directors and

managers, whether under the Debtor’s bylaws, its certificate of incorporation, or otherwise, and

no reduction or termination in any of the benefits provided under any such indemnities shall affect

the benefits provided to the Indemnified Persons pursuant to the indemnification provisions of the

Engagement Letter and, during the pendency of this Chapter 11 Case, subject to the following

conditions:

                         a.     All requests of Indemnified Persons for payment of indemnity,

contribution or otherwise pursuant to the indemnification provisions of the Engagement Letter

shall be made by means of an interim or final fee application and shall be subject to the approval

of, and review by, the Court to ensure that such payment conforms to the terms of the Engagement

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Letter, the Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and this order;

provided, however, that in no event shall an Indemnified Person be indemnified or receive

contribution to the extent that any claim or expense has resulted from the bad faith, self-dealing,

breach of fiduciary duty, if any, gross negligence or willful misconduct on the part of that or any

other Indemnified Person;

                       b.     In no event shall an Indemnified Person be indemnified or receive

contribution or other payment under the indemnification provisions of the Engagement Letter if

the Debtor, its estates, or the statutory committee of unsecured creditors appointed in this chapter

11 case assert a claim, to the extent that the Court determines by final order that such claim arose

out of bad faith, self-dealing, breach of fiduciary duty, if any, gross negligence, or willful

misconduct on the part of that or any other Indemnified Person; and, for the avoidance of any

doubt, to the extent of such a finding, the proviso set forth in the second sentence of the

contribution provisions of the Engagement Letter shall not be applicable, such that GlassRatner’s

potential liability for such acts shall not be limited to the amounts received by GlassRatner for

services rendered in this chapter 11 case;

                       c.     In the event an Indemnified Person seeks reimbursement for

attorneys' fees from the Debtors pursuant to the Engagement Letter, the invoices and supporting

time records from such attorneys shall be submitted pursuant to interim and final fee applications,

and such invoices and time records shall be subject to the United States Trustee's guidelines for

compensation and reimbursement of expenses and the approval of the Bankruptcy court under the

standards of section 330 of the Bankruptcy Code without regard to whether such attorney has been

retained under section 327 of the Bankruptcy Code.



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            7.     GlassRatner shall disclose any and all facts that may have a bearing on whether the

firm, its affiliates, and/or any individuals working on the engagement hold or represent any interest

adverse to the Debtor, its creditors, or other parties in interest. The obligation to disclose as

identified in this paragraph is a continuing obligation.

            8.     Except as otherwise required by this Order, GlassRatner will not be subject to any

order of this Court governing the procedures for interim compensation for professionals, and the

Debtor is authorized to compensate GlassRatner in accordance with the terms of the Engagement

Letter without further order of the Court.

            9.     The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

            10.    The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.

                                               #    #     #

Submitted by:
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 (Attorney Goldstein is directed to serve a conformed copy of this Order upon all interested parties,
and to file a certificate of service with the Court).




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